PILATUS d8ESI DHSS 7A ROGET IF MGd:09/08/20
12300 Pilatus Way

BROOMFIELD, CO 80021

Entered:09/08/20 08:44:23 Page! of 2a) Paylocity

Direct Deposit Advice

 

DIRECT DEPOSIT VOUCHER

19756 220 279 6956 6661
Michael'A Kapple

2300 Walnut St-Apt 572
Denver, CO 80205-2477

19756

 

Check Date Voucher Number
August 31, 2020 6956
Direct Deposits Type Account Amount
Jpmorgan Chas C ***6758 2,869.75
Total Direct Deposits 2,869.75

Non Negotiable - This is not a check - Non Negotiable

PILATUS BUSINESS AIRCRAFT LTD

 

 

 

 

 

 

 

 

Michael A Kapple Earnings Statement
Employee ID 279 Fed Taxable Income 4,342.44 Check Date August 31, 2020 ‘Voucher Number 6956
Location 220 ‘Fed Filing Status S-0 Period Beginning July 29, 2020 Net Pay 2,869.75
Hourly $24.48 — State Filing Status S-0 Period Ending August 26, 2020
Earnings Rate Hours Amount YTD Deductions Amount YTD
AOG 0.00 160.00 1,530.88 401K 325.03 2,217.78
AOG 100.00 2.00 200.00 401K LOAN 176.68 1,413.44
AOG Me 300.00 401K LOAN 145.49 872.94
EARLY C 144.96 401K LOAN 84.60
HOLIDA 1,163.52 ACCIDENT 19.24 $742
INCENTI 4,389.00 AOG Memo 300.00
OVERTI 36.72 26.67 979.32 4,706.28 DENTAL INS 8.95 70.15
REGULA — 24.48 166.58 4,077.88 27,159.00 FLEX SPENDING ACCT 229.17 1,832.51
VACATI 1,958.40 HSA FAMILY 341.67 2,691.71
Gross Earnings 195.25 5,417.20 41,352.04 LIFE INS 21.00 135.50

MEDICAL INS 175.38 1,369.34
Taxes Amount YTD POST TAX MEDICAL 111.25
co 186.00 1,402.00 ROTH 401K 20.00 160.00
FITW 534.82 3,783.95 TELEHEALTH 5.00 15.00
MED 67.68 514.16 VISION 1.96 16.58
Ss 289.38 2,198.51 Deductions 1,469.57 11,348.52
Taxes 1,077.88 7,898.62

Direct Deposits Type Account Amount

Jpmorgan Chase Bank, —C ***6758 2,869.75

Total Direct Deposits 2,869.75

Time Off Used__ Available

Families 0.00 80.00

PERSONA 0.00 40.00

VACATIO 16.00 12.00

Other Items Amount YTD

LTD 12.31 102.62

HSAER - FA 250.00 2,000.00

GROUP TERM 0.09 0.45

401K MATCH 325.03 2,217.78

PILATUS BUSINESS AIRCRAFT LTD | 12300 Pilatus Way BROOMFIELD, CO 80021 | (303) 465-9099
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12300 Pilatus Way
BROOMFIELD, CO 80021

Entered:09/0 8120 08; 4fi@e<Page2 of 3

Check Date

paylocity

Voucher Number

 

July 31, 2020 6823
Direct Deposits Type Account Amount
DIRECT DEPOSIT VOUCHER Jpmorgan Chas C #¥F6758 2,868.37
Total Direct Deposits 2,868.37
19756 220 279 6823 6534 19756

. Michael'A Kapple
2300 Walnut St-Apt 572
Denver, CO 80205-2477

 

Non Negotiable - This is not a check - Non Negotiable

PILATUS BUSINESS AIRCRAFT LTD

 

 

 

 

 

 

 

Michael A Kapple Earnings Statement
Employee ID 279 Fed Taxable Income 4,339.04 Check Date July 31, 2020 Voucher Number 6823
Location 220 ~—“ Fed Filing Status S-0 Period Beginning June 26, 2020 Net Pay 2,868.37
Hourly $24.48 State Filing Status S-0 Period Ending —_ July 28, 2020
Earnings Rate Hours Amount YTD Deductions Amount YTD
AOG 0.00 180.00 1,170.88 401K 324.81 1,892.75
AOG Me 300.00 401K LOAN 176.68 1,236.76
EARLYC 24.48 1.00 24.48 144.96 401K LOAN 145.49 727.45
HOLIDA 24.48 8.00 195,84 1,163.52 401K LOAN 84.60
INCENTI 4,389.00 ACCIDENT 19.24 38.48
OVERTI 36.72 23.58 865.86 3,726.96 AOG Memo 300.00
REGULA 24.48 169.42 4,147.40 23.081.12 DENTAL INS 8.95 61.20
VACATI 1,958.40 FLEX SPENDING ACCT 229.17, 1,603.34
Gross Earnings 202.00 5,413.58 35,934.84 HSA FAMILY 341.67 2,350.04
LIFE INS 21.00 114.50
Taxes Amount YTD MEDICAL INS 175.38 1,193.96
co 185.00 1,216.00 POST TAX MEDICAL 111.25
FITW 534.07 3,249.13. ROTH 401K 20.00 140.00
MED 67.63 446.48 TELEHEALTH 5.00 10.00
ss 289.16 1,909.13 VISION 1.96 14.62
Taxes 1,075.86 6,820.74 Deductions 1,469.35 9,878.95
Direct Deposits Type Account Amount
Jpmorgan Chase Bank, C ***6758 2,868.37
Total Direct Deposits 2,868.37
Time Off Used Available
Families 0.00 80.00
PERSONA 0.00 36.67
VACATIO 16.00 2.00
Other Items Amount YTD
LTD 12.31 90.31
HSAER - FA 250.00 1,750.00
GROUP TERM 0.09 0.36
401K MATCH 324.81 1,892.75

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